                                      Case 8:23-cv-00431-CJC-JDE Document 1 Filed 03/09/23 Page 1 of 15 Page ID #:1



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                                  9                        UNITED STATES DISTRICT COURT
                                 10
                                                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 11
                                       PORTIA MASON, an individual,            CASE NO.:
                                 12
                                                           Plaintiff,
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                                 13                                                    COMPLAINT
                                             v.                                     1. VIOLATIONS OF THE
                                 14
                                                                                       AMERICANS WITH
                                 15    KREATERS, INC. d/b/a BLENDS, a
                                                                                       DISABILITIES ACT OF 1990, 42
                                       California corporation; and DOES 1
                                 16                                                    U.S.C. § 12181
                                       to 10, inclusive,
                                                                                    2. VIOLATIONS OF THE UNRUH
                                 17                                                    CIVIL RIGHTS ACT,
                                                          Defendants.
                                 18                                                    CALIFORNIA CIVIL CODE § 51
                                                                                       DEMAND FOR JURY TRIAL
                                 19
                                 20
                                 21          Plaintiff Portia Mason (hereafter “Plaintiff”) brings this action based upon
                                 22    personal knowledge as to herself and her own acts, based upon, inter alia, the
                                 23    investigations of her attorneys.
                                 24                              NATURE OF THE ACTION
                                 25          1.     Plaintiff is a visually impaired and legally blind individual who
                                 26    requires screen-reading software to read website content using her computer.
                                 27    Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people with
                                 28    visual impairments who meet the legal definition of blindness in that they have a
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                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 8:23-cv-00431-CJC-JDE Document 1 Filed 03/09/23 Page 2 of 15 Page ID #:2



                                  1    visual acuity with correction of less than or equal to 20 x 200. Some blind people
                                  2    who meet this definition have limited vision. Others have no vision.
                                  3          2.     Plaintiff brings this Complaint to secure redress against Kreaters, Inc.
                                  4    d/b/a Blends (hereafter “Defendant”) and DOES 1-10 for its failure to design,
                                  5    construct, maintain, and operate its website to be fully and equally accessible to and
                                  6    independently usable by Plaintiff and other blind or visually impaired individuals.
                                  7    Defendant’s denial of full and equal access to its website, and therefore denial of its
                                  8    products and services offered thereby and in conjunction with its physical locations,
                                  9    is a violation of Plaintiff’s rights under the Americans with Disabilities Act
                                 10    (“ADA”) and California’s Unruh Civil Rights Act (“UCRA”).
                                 11          3.     Because Defendant’s website, https://www.blendsus.com/ (the
                                 12    “website” or “Defendant’s website”), is not fully or equally accessible to blind and
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Los Angeles, CA 90010-1137
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                                 13    visually impaired consumers in violation of the ADA, Plaintiff seeks a permanent
                                 14    injunction to cause a change in Defendant’s corporate policies, practices, and
                                 15    procedures so that Defendant’s website will become and remain accessible to
                                 16    Plaintiff and other blind and visually impaired consumers.
                                 17                                      THE PARTIES
                                 18          4.     Plaintiff, at all times relevant and as alleged herein, is a resident of the
                                 19    County of Los Angeles. Plaintiff is a legally blind, visually impaired, handicapped
                                 20    person, and a member of a protected class of individuals under the ADA, pursuant
                                 21    to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA set forth
                                 22    at 28 CFR §§ 36.101 et seq.
                                 23          5.     Defendant is a California corporation with its headquarters in Santa
                                 24    Ana, California. Defendant’s servers for the website are in the United States.
                                 25    Defendant conducts a large amount of its business in California. The physical
                                 26    locations where Defendant’s goods and services are sold to the public constitute
                                 27    places of public accommodation pursuant to 42 U.S.C. § 12181(7)(E), as Defendant
                                 28    owns, operates, and controls retail sales establishments. Defendant’s retail stores
                                                                                  2
                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 8:23-cv-00431-CJC-JDE Document 1 Filed 03/09/23 Page 3 of 15 Page ID #:3



                                  1    provide important goods and services to the public. Moreover, Defendant’s website
                                  2    provides consumers access to the goods and services which Defendant offers in its
                                  3    brick-and-mortar retail stores.    For example, Defendant’s website allows for
                                  4    consumers to purchase men’s and women’s apparel and accessories which
                                  5    Defendant sells in its retail stores. Thus, the website connects consumers to the
                                  6    goods and services of Defendant’s retail stores.          Consumers can also use
                                  7    Defendant’s website to find the retail store locations, learn about Defendant’s
                                  8    business, contact Defendant, peruse Defendant’s return and exchange policies,
                                  9    subscribe to Defendant’s mailing list to receive news and updates, and explore
                                 10    Defendant’s project archive.
                                 11          6.     Plaintiff is unaware of the true names, identities, and capacities of each
                                 12    Defendant sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
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                                 13    complaint to allege the true names and capacities of DOES 1 to 10 if and when
                                 14    ascertained. Plaintiff is informed and believes, and thereupon alleges, that each
                                 15    Defendant sued herein as a DOE is legally responsible in some manner for the
                                 16    events and happenings alleged herein and that each Defendant sued herein as a DOE
                                 17    proximately caused injuries and damages to Plaintiff as set forth below.
                                 18          7.     Defendant’s retail stores are public accommodations within the
                                 19    definition of Title III of the ADA, 42 U.S.C. § 12181(7)(E).
                                 20          8.     The website provides access to the goods, services, privileges, and
                                 21    advantages of Defendant’s brick-and-mortar locations, places of public
                                 22    accommodation, by allowing consumers to purchase apparel and accessories sold
                                 23    in Defendant’s retail stores.
                                 24                             JURISDICTION AND VENUE
                                 25          9.     Defendant is subject to personal jurisdiction in this District. Defendant
                                 26    has been and continues to commit the acts or omissions alleged herein in the Central
                                 27    District of California, that caused injury, and violated rights prescribed by the ADA
                                 28    and UCRA, to Plaintiff. A substantial part of the acts and omissions giving rise to
                                                                                 3
                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 8:23-cv-00431-CJC-JDE Document 1 Filed 03/09/23 Page 4 of 15 Page ID #:4



                                  1    Plaintiff’s claims occurred in the Central District of California. Specifically,
                                  2    Plaintiff has been denied the full use and enjoyment of the facilities, goods, and
                                  3    services of Defendant’s retail stores which it provides through the website in Los
                                  4    Angeles County. The access barriers Plaintiff has encountered on Defendant’s
                                  5    website have caused a denial of Plaintiff’s full and equal access to Defendant’s retail
                                  6    stores and now deter Plaintiff from accessing Defendant’s website and retail stores.
                                  7    The access barriers Plaintiff has encountered on Defendant’s website have impeded
                                  8    Plaintiff’s full and equal enjoyment of goods and services offered at Defendant’s
                                  9    brick-and-mortar locations.
                                 10          10.    This Court also has subject-matter jurisdiction over this action
                                 11    pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise
                                 12    under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1367.
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Los Angeles, CA 90010-1137
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                                 13          11.    This Court has personal jurisdiction over Defendant because it
                                 14    conducts and continues to conduct a substantial and significant amount of business
                                 15    in the State of California, County of Los Angeles, and because Defendant’s
                                 16    offending website is available across California.
                                 17          12.    Venue is proper in the Central District of California pursuant to 28
                                 18    U.S.C. § 1391 because Plaintiff resides in this District, Defendant conducts and
                                 19    continues to conduct a substantial and significant amount of business in this District,
                                 20    Defendant is subject to personal jurisdiction in this District, and a substantial
                                 21    portion of the conduct complained of herein occurred in this District.
                                 22          13.    Defendant owns, operates, and maintains brick-and-mortar retail store
                                 23    locations in the State of California. Defendant’s brick-and-mortar store locations
                                 24    offer goods and services to the public. Defendant also offers the very goods and
                                 25    services that are offered in Defendant’s places of public accommodation to the
                                 26    public through the website. Defendant’s brick-and-mortar retail store locations are
                                 27    places of public accommodation pursuant to 42 U.S.C. § 12181(7)(E), and
                                 28    Defendant’s website is subject to the ADA because it provides methods by which
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                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 8:23-cv-00431-CJC-JDE Document 1 Filed 03/09/23 Page 5 of 15 Page ID #:5



                                  1    consumers can access the goods and services offered in Defendant’s brick-and-
                                  2    mortar retail stores, which are inaccessible to Plaintiff, a disabled screen-reader user
                                  3    such as the ability to purchase apparel and accessories sold in Defendant’s retail
                                  4    stores through the website.
                                  5       THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                  6          14.    The Internet has become a significant source of information, a portal,
                                  7    and a tool for conducting business, doing everyday activities such as shopping,
                                  8    learning, banking, researching, as well as many other activities for sighted, blind,
                                  9    and visually impaired persons alike.
                                 10          15.    In today's tech-savvy world, blind and visually impaired people have
                                 11    the ability to access websites using keyboards in conjunction with screen access
                                 12    software that vocalizes the visual information found on a computer screen. This
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                                 13    technology is known as screen-reading software.           Screen-reading software is
                                 14    currently the only method a blind or visually impaired person may use to
                                 15    independently access the internet. Unless websites are designed to be read by
                                 16    screen-reading software, blind and visually impaired persons are unable to fully
                                 17    access websites, and the information, products, and services contained thereon.
                                 18          16.    Blind and visually impaired users of Windows operating system-
                                 19    enabled computers and devices have several screen-reading software programs
                                 20    available to them. Some of these programs are available for purchase and other
                                 21    programs are available without the user having to purchase the program separately.
                                 22    Job Access With Speech, otherwise known as “JAWS,” is currently the most
                                 23    popular, separately purchased and downloaded screen-reading software program
                                 24    available for a Windows computer.
                                 25          17.    For screen-reading software to function, the information on a website
                                 26    must be capable of being rendered into text. If the website content is not capable
                                 27    of being rendered into text, the blind or visually impaired user is unable to access
                                 28    the same content available to sighted users.
                                                                                  5
                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 8:23-cv-00431-CJC-JDE Document 1 Filed 03/09/23 Page 6 of 15 Page ID #:6



                                  1              18.     The international website standards organization, the World Wide
                                  2    Web Consortium, known throughout the world as W3C, has published Success
                                  3    Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                  4    hereinafter). WCAG 2.1 are well-established guidelines for making websites
                                  5    accessible to blind and visually impaired people. These guidelines are adopted,
                                  6    implemented, and followed by most large business entities who want to ensure their
                                  7    websites are accessible to users of screen-reading software programs. Though
                                  8    WCAG 2.1 has not been formally adopted as the standard for making websites
                                  9    accessible, it is one of, if not the most, valuable resource for companies to operate,
                                 10    maintain, and provide a website that is accessible under the ADA to the public.
                                 11    Plaintiff seeks Defendant comply with WCAG 2.1 as a remedy. Plaintiff does not
                                 12    premise Defendant’s violations of the ADA nor the Unruh Act on violations of
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                                       WCAG 2.1. However, the Department of Justice (“DOJ”) has issued guidance on
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                                 13
                                 14    how to make web content accessible to people with disabilities. The DOJ’s
                                 15    guidance provides that: “Existing technical standards provide helpful guidance
                                 16    concerning how to ensure accessibility of website features. These include [WCAG]
                                 17    and the Section 508 standards, which the federal government uses for its own
                                 18    websites.”1 Accordingly, although not a sole basis to premise violations of the ADA
                                 19    and the Unruh Act on, WCAG “provide helpful guidance concerning how to ensure
                                 20    accessibility of website features.”
                                 21              19.     Within this context, the Ninth Circuit has recognized the viability of
                                 22    ADA claims against commercial website owners/operators with regard to the
                                 23    accessibility of such websites. Robles v. Domino’s Pizza, LLC, 913 F.3d 898, 905-
                                 24    06 (9th Cir. 2019), cert. denied, 140 S.Ct. 122, 206 L. Ed. 2d 41 (2019). This is in
                                 25    addition to the numerous courts that have already recognized such application.
                                 26              20.     Each of Defendant’s violations of the Americans with Disabilities Act
                                 27    is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
                                 28    1   https://beta.ada.gov/resources/web-guidance/
                                                                                          6
                                                                     COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 8:23-cv-00431-CJC-JDE Document 1 Filed 03/09/23 Page 7 of 15 Page ID #:7



                                  1    Act provides that any violation of the ADA constitutes a violation of the Unruh
                                  2    Civil Rights Act. Cal. Civ. Code § 51(f).
                                  3                               FACTUAL BACKGROUND
                                  4          21.     Defendant offers the website to the public. The website offers features
                                  5    which should allow all consumers to access the goods and services which Defendant
                                  6    offers in connection with its physical locations through the website. The goods and
                                  7    services offered by Defendant through the website in conjunction with its retail
                                  8    stores include, but are not limited to, the following: apparel and accessories.
                                  9    Consumers can also use Defendant’s website to find the retail store locations, learn
                                 10    about Defendant’s business, contact Defendant, peruse Defendant’s return and
                                 11    exchange policies, subscribe to Defendant’s mailing list to receive news and
                                 12    updates, and explore Defendant’s project archive.
3055 Wilshire Blvd, 12th Floor




                                                     Due to Defendant’s failure to properly code its website, Plaintiff has
Los Angeles, CA 90010-1137
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                                 13          22.
                                 14    been and is still being denied equal and full access to Defendant’s retail stores and
                                 15    the numerous goods, services, and benefits offered to the public through
                                 16    Defendant’s website in conjunction with Defendant’s brick-and-mortar retail stores.
                                 17                THE WEBSITE BARRIERS DENY PLAINTIFF ACCESS
                                 18          23.     Plaintiff is a visually impaired and legally blind person, who cannot
                                 19    use a computer without the assistance of screen-reading software. However,
                                 20    Plaintiff is a proficient user of JAWS and uses it to access the internet. Plaintiff
                                 21    visited https://www.blendsus.com/ using the screen-reader, JAWS, to shop for
                                 22    apparel and accessories.
                                 23          24.     During Plaintiff’s visit to Defendant’s website, Plaintiff encountered
                                 24    multiple access barriers which denied Plaintiff full and equal access to the facilities,
                                 25    goods, and services offered to the public and made available to the public on
                                 26    Defendant’s website. For example, Plaintiff encountered multiple links that were
                                 27    read aloud by her screen-reader as “links.” Thus, Plaintiff was unable to complete
                                 28    a purchase of apparel or accessories because of Defendant’s failure to ascribe
                                                                                  7
                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 8:23-cv-00431-CJC-JDE Document 1 Filed 03/09/23 Page 8 of 15 Page ID #:8



                                  1    alternative text to the goods which it sells through the website in conjunction with
                                  2    its retail stores. To give some context, Plaintiff uses her keyboard to navigate
                                  3    websites, as she is not sighted and cannot use a mouse. Thus, in order for
                                  4    Defendant’s website to be readable by Plaintiff’s screen-reader, Defendant must
                                  5    implement appropriate website coding practices so that the nonvisual elements of
                                  6    Defendant’s website can be read aloud by Plaintiff’s screen-reader. As a result of
                                  7    Defendant’s deficient coding practices, Defendant’s website was not compatible
                                  8    with Plaintiff’s screen-reader—denying her the ability to complete a purchase of
                                  9    apparel or accessories.
                                 10          25.    If Defendant had sufficiently coded the website to be readable by
                                 11    Plaintiff’s screen-reader and accessible with her keyboard, Plaintiff would have
                                 12    been able to interact with these elements and complete a purchase as a sighted
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Los Angeles, CA 90010-1137
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                                 13    person could.
                                 14          26.    Accordingly, Plaintiff was denied the ability to access Defendant’s
                                 15    website and complete a purchase, a good and service which Defendant provides
                                 16    through the website in conjunction with its places of public accommodation, its
                                 17    retail stores, because Defendant failed to have the proper procedures in place to
                                 18    ensure that content uploaded to the website contains the proper coding to convey
                                 19    the meaning and structure of the website and the goods and services provided by
                                 20    Defendant.
                                 21          27.    Due to the widespread access barriers Plaintiff encountered on
                                 22    Defendant’s website, Plaintiff has been deterred from accessing Defendant’s
                                 23    website and Defendant’s retail stores because Plaintiff was unable to use the website
                                 24    to complete a purchase.
                                 25          28.    Despite Plaintiff’s attempt to do business with Defendant on its
                                 26    website, the numerous access barriers contained on the website and encountered by
                                 27    Plaintiff, have denied Plaintiff full and equal access to Defendant’s website.
                                 28    Plaintiff, as a result of the barriers on Defendant’s website, continues to be deterred
                                                                                  8
                                                                 COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 8:23-cv-00431-CJC-JDE Document 1 Filed 03/09/23 Page 9 of 15 Page ID #:9



                                  1    from accessing Defendant’s website. Likewise, based on the numerous access
                                  2    barriers Plaintiff has been deterred and impeded from the full and equal enjoyment
                                  3    of goods and services offered in Defendant’s retail stores.
                                  4          29.    Plaintiff intends to access the website to complete a purchase of
                                  5    clothing or accessories; however, the website barriers continue to deter her from
                                  6    utilizing the website with her screen-reader to complete a purchase, denying her
                                  7    access to the goods and services of Defendant’s brick-and-mortar retail locations.
                                  8            DEFENDANT’S WEBSITE HAS A SUFFICIENT NEXUS TO
                                  9     DEFENDANT’S RETAIL LOCATIONS TO SUBJECT THE WEBSITE TO
                                 10                          THE REQUIREMENTS OF THE ADA
                                 11          30.    Defendant’s website is subject to the ADA because the goods and
                                 12    services offered on the website are an extension of the goods and services offered
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                                       in Defendant’s brick-and-mortar retail stores. For example, the goods and the
Los Angeles, CA 90010-1137
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                                 13
                                 14    services which can be procured online are available for purchase in Defendant’s
                                 15    brick-and-mortar retail stores. Thus, since the website facilitates access to the
                                 16    goods and services of places of public accommodation, and Defendant’s deficient
                                 17    coding practices denied Plaintiff those very goods and services, the website falls
                                 18    within the protection of the ADA because the website connects customers to the
                                 19    goods and services of Defendant’s physical retail stores. Moreover, the goods and
                                 20    services provided through the website are not accessible to Plaintiff, a legally blind
                                 21    screen-reader user.
                                 22          DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE
                                 23          31.    Due to the inaccessibility of the Defendant’s website, blind and
                                 24    visually impaired customers such as Plaintiff, who need screen-readers, cannot fully
                                 25    and equally use or enjoy the facilities and services Defendant offers to the public
                                 26    on its website. The access barriers Plaintiff has encountered have caused a denial
                                 27    of Plaintiff’s full and equal access in the past and now deter Plaintiff on a regular
                                 28    basis from accessing the website.
                                                                                 9
                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 8:23-cv-00431-CJC-JDE Document 1 Filed 03/09/23 Page 10 of 15 Page ID #:10



                                  1         32.      These access barriers on Defendant’s website have deterred Plaintiff
                                  2   from enjoying the goods and services of Defendant’s brick-and-mortar retail stores
                                  3   which are offered through Defendant’s website in a full and equal manner to sighted
                                  4   individuals.    Plaintiff intends to visit the Defendant’s website to complete a
                                  5   purchase of apparel or accessories if Plaintiff could access Defendant’s website as
                                  6   a sighted person can. If Plaintiff can receive adequate information about the good
                                  7   sold on Defendant’s website using her screen-reader, Plaintiff intends to visit
                                  8   Defendant’s brick-and-mortar retail stores.
                                  9         33.      If the website were equally accessible to all, Plaintiff could
                                 10   independently navigate the website and complete a desired transaction, as sighted
                                 11   individuals do.
                                 12         34.      Plaintiff, through Plaintiff’s attempts to use the website, has actual
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Los Angeles, CA 90010-1137
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                                 13   knowledge of the access barriers that make these services inaccessible and
                                 14   independently unusable by blind and visually impaired people.
                                 15         35.      The Defendant uses standards, criteria or methods of administration
                                 16   that have the effect of discriminating or perpetuating the discrimination against
                                 17   others, as alleged herein.
                                 18         36.      The ADA expressly contemplates the injunctive relief that Plaintiff
                                 19   seeks in this action. In relevant part, the ADA requires:
                                 20         In the case of violations of … this title, injunctive relief shall include
                                 21         an order to alter facilities to make such facilities readily accessible to
                                 22         and usable by individuals with disabilities …. Where appropriate,
                                 23         injunctive relief shall also include requiring the … modification of a
                                 24         policy …. 42 U.S.C. § 12188(a)(2).
                                 25         37.      Because Defendant’s website has never been equally accessible, and
                                 26   because Defendant lacks a corporate policy that is reasonably calculated to cause
                                 27   the Defendant’s website to become and remain accessible, Plaintiff invokes 42
                                 28   U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring the Defendant to
                                                                                10
                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 8:23-cv-00431-CJC-JDE Document 1 Filed 03/09/23 Page 11 of 15 Page ID #:11



                                  1   retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply
                                  2   with WCAG 2.1 guidelines for Defendant’s website.           The website must be
                                  3   accessible for individuals with disabilities who use desktop computers, laptops,
                                  4   tablets, and smartphones. Plaintiff seeks that this permanent injunction require
                                  5   Defendant to cooperate with the agreed-upon consultant to: train Defendant’s
                                  6   employees and agents who develop the website on accessibility compliance under
                                  7   the WCAG 2.1 guidelines; regularly check the accessibility of the website under
                                  8   the WCAG 2.1 guidelines; regularly test user accessibility by blind or vision-
                                  9   impaired persons to ensure that the Defendant’s website complies under the WCAG
                                 10   2.1 guidelines; and develop an accessibility policy that is clearly disclosed on the
                                 11   Defendant’s website, with contact information for users to report accessibility-
                                 12   related problems and require that any third-party vendors who participate on the
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                                      Defendant’s website to be fully accessible to the disabled by conforming with
Los Angeles, CA 90010-1137
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                                 13
                                 14   WCAG 2.1.
                                 15         38.    If Defendant’s website were accessible, Plaintiff could independently
                                 16   access information about the services offered and goods available for online
                                 17   purchase through Defendant’s website and complete a purchase.
                                 18         39.    Although Defendant may currently have centralized policies regarding
                                 19   maintaining and operating Defendant’s website, Defendant lacks a plan and policy
                                 20   reasonably calculated to make Defendant’s website fully and equally accessible to,
                                 21   and independently usable by, blind and other visually impaired consumers.
                                 22         40.    Defendant has, upon information and belief, invested substantial sums
                                 23   in developing and maintaining Defendant’s website, and Defendant has generated
                                 24   significant revenue from Defendant’s website. These amounts are far greater than
                                 25   the associated cost of making Defendant’s website equally accessible to visually
                                 26   impaired customers.
                                 27         41.    Without injunctive relief, Plaintiff will continue to be unable to
                                 28   independently use Defendant’s website, violating her rights.
                                                                               11
                                                            COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 8:23-cv-00431-CJC-JDE Document 1 Filed 03/09/23 Page 12 of 15 Page ID #:12



                                  1                                         COUNT I
                                  2      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                  3                                  U.S.C. § 12181 ET SEQ.
                                  4         42.    Plaintiff alleges and incorporates herein by reference each and every
                                  5   allegation contained in paragraphs 1 through 41, inclusive, of this Complaint as if
                                  6   set forth fully herein.
                                  7         43.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                  8   provides: “No individual shall be discriminated against on the basis of disability in
                                  9   the full and equal enjoyment of the goods, services, facilities, privileges,
                                 10   advantages, or accommodations of any place of public accommodation by any
                                 11   person who owns, leases (or leases to), or operates a place of public
                                 12   accommodation.” 42 U.S.C. § 12182(a).
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Los Angeles, CA 90010-1137
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                                 13         44.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                 14   discrimination also includes, among other things: “a failure to make reasonable
                                 15   modifications in policies, practices, or procedures, when such modifications are
                                 16   necessary to afford such goods, services, facilities, privileges, advantages, or
                                 17   accommodations to individuals with disabilities, unless the entity can demonstrate
                                 18   that making such modifications would fundamentally alter the nature of such goods,
                                 19   services, facilities, privileges, advantages or accommodations”; and “a failure to
                                 20   take such steps as may be necessary to ensure that no individual with a disability is
                                 21   excluded, denied services, segregated or otherwise treated differently than other
                                 22   individuals because of the absence of auxiliary aids and services, unless the entity
                                 23   can demonstrate that taking such steps would fundamentally alter the nature of the
                                 24   good, service, facility, privilege, advantage, or accommodation being offered or
                                 25   would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
                                 26   accommodation shall take those steps that may be necessary to ensure that no
                                 27   individual with a disability is excluded, denied services, segregated or otherwise
                                 28   treated differently than other individuals because of the absence of auxiliary aids
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                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 8:23-cv-00431-CJC-JDE Document 1 Filed 03/09/23 Page 13 of 15 Page ID #:13



                                  1   and services, unless the public accommodation can demonstrate that taking those
                                  2   steps would fundamentally alter the nature of the goods, services, facilities,
                                  3   privileges, advantages, or accommodations being offered or would result in an
                                  4   undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In
                                  5   order to be effective, auxiliary aids and services must be provided in accessible
                                  6   formats, in a timely manner, and in such a way as to protect the privacy and
                                  7   independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                  8         45.    Defendant’s locations are “public accommodations” within the
                                  9   meaning of 42 U.S.C. § 12181 et seq. Upon information and belief, Defendant
                                 10   generates millions of dollars in revenue from the sale of its amenities and services,
                                 11   privileges, advantages, and accommodations in California through its locations,
                                 12   related services, privileges, advantages, and accommodations, and its website,
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                                 13   https://www.blendsus.com/, is a service, privilege, advantage, and accommodation
                                 14   provided by Defendant that is inaccessible to customers who are visually impaired
                                 15   like Plaintiff. This inaccessibility denies visually impaired customers full and equal
                                 16   enjoyment of and access to the facilities and services, privileges, advantages, and
                                 17   accommodations that Defendant makes available to the non-disabled public.
                                 18   Defendant is violating the Americans with Disabilities Act, 42 U.S.C. § 12181 et
                                 19   seq., in that Defendant denies visually impaired customers the services, privileges,
                                 20   advantages, and accommodations provided by https://www.blendsus.com/. These
                                 21   violations are ongoing.
                                 22         46.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                 23   set forth and incorporated therein, Plaintiff requests relief as set forth below.
                                 24                                        COUNT II
                                 25     VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
                                 26                              CIVIL CODE § 51 ET SEQ.
                                 27         47.    Plaintiff alleges and incorporates herein by reference each and every
                                 28   allegation contained in paragraphs 1 through 46, inclusive, of this Complaint as if
                                                                                 13
                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 8:23-cv-00431-CJC-JDE Document 1 Filed 03/09/23 Page 14 of 15 Page ID #:14



                                  1   set forth fully herein.
                                  2         48.      Defendant’s locations are a “business establishment” within the
                                  3   meaning of the California Civil Code § 51 et seq. Upon information and belief,
                                  4   Defendant generates millions of dollars in revenue from the sale of its services in
                                  5   California      through      its    locations      and     related     services,     and
                                  6   https://www.blendsus.com/ is a service provided by Defendant that is inaccessible
                                  7   to customers who are visually impaired like Plaintiff. This inaccessibility denies
                                  8   visually impaired customers full and equal access to Defendant’s facilities and
                                  9   services that Defendant makes available to the non-disabled public. Defendant is
                                 10   violating the Unruh Civil Rights Act, California Civil Code § 51 et seq., in that
                                 11   Defendant is denying visually impaired customers the services provided by
                                 12   https://www.blendsus.com/. These violations are ongoing.
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                                 13         49.      The actions of Defendant were and are in violation of the Unruh Civil
                                 14   Rights Act, California Civil Code § 51 et seq., and, therefore, Plaintiff is entitled to
                                 15   injunctive relief remedying the discrimination.
                                 16         50.      Plaintiff is also entitled to statutory minimum damages pursuant to
                                 17   California Civil Code § 52 for each and every offense.
                                 18         51.      Plaintiff is also entitled to reasonable attorneys’ fees and costs.
                                 19         52.      Plaintiff is also entitled to a preliminary and permanent injunction
                                 20   enjoining Defendant from violating the Unruh Civil Rights Act, California Civil
                                 21   Code § 51 et seq., and requiring Defendant to take the steps necessary to make
                                 22   https://www.blendsus.com/ readily accessible to and usable by visually impaired
                                 23   individuals.
                                 24                                  PRAYER FOR RELIEF
                                 25         WHEREFORE, Plaintiff respectfully requests that the Court enter judgment
                                 26   in her favor and against Defendant as follows:
                                 27         A.       A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                 28                  12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                                                                  14
                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 8:23-cv-00431-CJC-JDE Document 1 Filed 03/09/23 Page 15 of 15 Page ID #:15



                                  1                enjoining Defendant from violating the Unruh Civil Rights Act and
                                  2                ADA and requiring Defendant to take the steps necessary to make
                                  3                https://www.blendsus.com/ readily accessible to and usable by
                                  4                visually-impaired individuals;
                                  5          B.    An award of statutory minimum damages of $4,000 per offense
                                  6                pursuant to section 52(a) of the California Civil Code.
                                  7          C.    For attorneys’ fees and expenses pursuant to California Civil Code §§
                                  8                52(a), 52.1(h), and 42 U.S.C. § 12205;
                                  9          D.    For pre-judgment interest to the extent permitted by law;
                                 10          E.    For costs of suit; and
                                 11          F.    For such other and further relief as the Court deems just and proper.
                                 12                            DEMAND FOR JURY TRIAL
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                                 13          Plaintiff, on behalf of herself, hereby demands a jury trial for all claims so
                                 14   triable.
                                 15
                                 16   Dated: March 9, 2023                          Respectfully Submitted,
                                 17
                                                                                    /s/ Binyamin I. Manoucheri
                                 18                                                 Thiago M. Coelho
                                 19                                                 Binyamin I. Manoucheri
                                                                                    WILSHIRE LAW FIRM
                                 20                                                 Attorneys for Plaintiff Portia Mason
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                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
